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                            UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF TEXAS


 IN RE: AT&T INC. CUSTOMER DATA                         CASE NO. 3:24-CV-00757-E
 SECURITY BREACH LITIGATION


                                                        MDL DOCKET NO.: 3114



    PLAINTIFF JENNIFER TURNER’S RESPONSE TO JUNE 12 STATUS REPORT

       Plaintiff Jennifer Turner, Plaintiff in Case No. 3:24-cv-00864-X, through her undersigned

counsel Michael K. Hurst, Julie Pettit, and Laurence D. King (the “Hurst/Pettit Group”),

respectfully submits this Response to the June 12, 2024 Status Report (ECF No. 56, the “Status

Report”) and additional filings made by other plaintiffs in this matter.

       In addition to reviewing the Status Report, the Hurst/Pettit Group has reviewed the filings

made on behalf of other Plaintiffs in this matter, specifically the Sanford and Carrasco Plaintiffs’

Response to June 12, 2024 Status Report (ECF No. 57), C. Mario Jaramillo’s Response to June

12, 2024 Status Report (ECF No. 63), Plaintiffs Stephanie Doss, Aimee Jarvis, and Bethany

Miller’s Response to June 12 Status Report (ECF No. 74), and the Supplemental Status Report

(ECF No. 73). While the Hurst/Pettit Group believes these filings are premature insofar as the

Court has not yet set an initial MDL conference, it is necessary to respond to protect Plaintiff

Turner’s rights and interests.

       None of counsel for the Plaintiffs identified above have reached out to the Hurst/Pettit

Group to discuss leadership or any other topic. Nevertheless, the Hurst/Pettit Group would

welcome such discussions and will promptly reach out to other counsel.




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       In addition, the Hurst/Pettit Group shares the view set forth in the Response to June 12

Status Report filed by Maureen Brady (ECF No. 74) that given the large number of constituent

actions in this MDL, it is preferable that any leadership applications should only be made in an

organized fashion pursuant to a schedule set by the Court. This would ensure that all interested

Plaintiffs and their counsel are on equal footing and can receive adequate consideration by the

Court for a leadership role in this important litigation. The Hurst/Pettit Group believes that it is

well-suited for a leadership role given the strong track record in this District and experience in data

breach litigation its attorneys and law firms collectively bring to bear.

                                         Respectfully submitted,


 DATED: July 10, 2024                    LYNN PINKER HURST & SCHWEGMANN, LLP

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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served on all counsel of record

on July 10, 2024 via CM/ECF, in accordance with the Federal Rules of Civil Procedure.

                                                    /s/ Michael K. Hurst
                                                        Michael K. Hurst




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